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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION

          JEFFREY MOLITOR, LAURA C. DE LA
          CABADA, STEVE CLARKE, and RUTH
          MAKI, individually and on behalf of all
          others similarly situated,                             CIVIL ACTION NO.: 1:16-CV-02106

                    Plaintiffs,                                  Honorable Charles S. Norgle, Sr.

        v.                                                       Magistrate Judge Sidney I. Schenkier

          MANASSEH JORDAN MINISTRIES, INC., a
          New York Religious Corporation, and YAKIM
          MANASSEH JORDAN, an individual,

                   Defendants.



                                     MOTION TO WTHDRAW AS COUNSEL

                   NOW COMES Jonathan W. Garlough of Foley & Lardner LLP, and hereby moves to

        withdraw as counsel for Kingdom Ministries Church, Inc.

                   WHEREFORE, Jonathan W. Garlough respectfully requests that the Court enter an order

        granting leave to withdraw as counsel for Kingdom Ministries Church, Inc.

        Dated: January 10, 2018                      Respectfully submitted,

                                                     KINGDOM MINISTRIES CHURCH, INC.

                                                     /s/ Jonathan W. Garlough
                                                         One of Its Attorneys

                                                     Johnathan W. Garlough, #6295597
                                                     Foley & Lardner LLP
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                                                     Chicago, IL 60654-5313
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                                           CERTIFICATE OF SERVICE


                   I, Jonathan W. Garlough, an attorney, hereby certify that on January 10, 2018, I caused a

        copy of the foregoing Kingdom Ministries Church, Inc.’s Motion to Withdraw as Counsel,

        in the above-captioned matter to be filed with the Clerk of the District Court and served on the

        parties of record, by operation of the Court’s CM/ECF electronic filing system.


                                                                      /s/ Jonathan W. Garlough




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